

People v McCallister (2021 NY Slip Op 03813)





People v McCallister


2021 NY Slip Op 03813


Decided on June 15, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 15, 2021

Before: Renwick, J.P., Kern, Singh, Moulton, JJ. 


Ind No. 563/17N 990/17N 563/17N 990/17N Appeal No. 14064 Case No. 2020-01267 

[*1]The People of the State of New York, Respondent,
vMason McCallister, Defendant-Appellant. 


Aaron M. Goldsmith, New York, for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Neil E. Ross, J.), rendered April 11, 2019, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the second degree, criminal possession of a weapon in the second degree and conspiracy in the second degree, and sentencing him to an aggregate term of 6½ years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied __ US __, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]), which forecloses review of the denial of his motions to controvert search warrants.
Regardless of whether defendant made a valid appeal waiver, we find that the search warrants at issue and the underlying order authorizing collection of cell site and related information were lawful in all respects. We have considered and rejected defendant's arguments to the contrary. We decline to consider the letter presented to this Court by defendant, purportedly authored by "an expert in cellular phone data and tracking," because it was not before the trial court and is not part of the record on appeal (see People v Rizzo, 209 AD2d 235, 237 [1st Dept 1994], lv denied 85 NY2d 913 [1995]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 15, 2021








